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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

 John Doe,                                     )
                                               )
                              Plaintiff,       )
                                               )     Civil Action No. 3:21-cv-02748-MGL
               vs.                             )
                                               )
 Childs Cantey Thrasher, Donald Gist, Brian    )
 M. Barnwell, Scott E. Frick, AJ Holloway,     )
 Don Jackson, and Brandolyn Thomas             )
 Pinkston, in their official capacities as     )    DEFENDANTS’ AND INTERVENOR-
 members of the South Carolina Ethics          )   DEFENDANTS’ JOINT RESPONSE TO
 Commission; Alan Wilson, in his official      )    PLAINTIFF’S MOTION TO AMEND
 capacity as Attorney General; and Byron       )              CAPTION
 Gipson, in his official capacity as Fifth     )
 Circuit Solicitor,                            )
                                               )
                           Defendants,         )
                                               )
               and                             )
                                               )
 Thomas C. Alexander, in his official          )
 capacity as President of the South Carolina   )
 Senate; and James H. Lucas, in his official   )
 capacity as Speaker of the South Carolina     )
 House of Representatives,                     )
                                               )
               Intervenor-Defendants.          )
                                               )
                                               )

       Defendants Childs Cantey Thrasher, Donald Gist, Brian M. Barnwell, Scott E. Frick, AJ

Holloway, Don Jackson, and Brandolyn Thomas Pinkston, in their official capacities as members

of the South Carolina Ethics Commission; Alan Wilson, in his official capacity as Attorney

General; and Byron Gipson, in his official capacity as Fifth Circuit Solicitor, and Intervenor-

Defendants Thomas C. Alexander, in his official capacity as President of the South Carolina

Senate; and James H. Lucas, in his official capacity as Speaker of the South Carolina House of
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Representatives, hereby jointly submit their response to Plaintiff’s Motion to Amend Caption [ECF

No. 60].

       On May 4, 2022, Plaintiff John Doe moved under Rule 10(a) of the Federal Rules of Civil

Procedure to amend the caption in this action to identify the Plaintiff by name. See id. at 1. In

response, Defendants and Intervenor-Defendants take no position on Plaintiff’s Motion to Amend

Caption.



Respectfully submitted,


 s/ Vordman Carlisle Traywick, III                 s/ Steven R. Spreeuwers
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 Defendants                                        M. Todd Carroll
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 (803) 734-3680                                    in his capacity as President of the
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                                               Lucas, in his capacity as the Speaker of the
                                               South Carolina House of Representatives and
                                               the South Carolina House of Representatives

May 18, 2022
Columbia, South Carolina




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